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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 U.S. SILICA COMPANY                                 §
                                                     §
                       v.                            §          CIVIL ACTION NO. _________
                                                     §
 AMBERGER KAOLINWERKE EDUARD                         §
 KICK GmbH & Co. KG                                  §


                   U.S. SILICA COMPANY’S ORIGINAL COMPLAINT
                             FOR PATENT INFRINGEMENT


       Plaintiff U.S. Silica Company (“U.S. Silica”) brings this suit against Defendant Amberger

Kaolinwerke Eduard Kick GmbH & Co. KG (“AKW”) and alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action for damages and injunctive relief under the Patent Laws of the

United States, 35 U.S.C. § 1, et seq., for the infringement of four patents that are each entitled

“Highly Reflective Roofing System.” These patents are United States Patent Nos. 8,865,303 (“the

’303 Patent”); 9,303,407 (“the ’407 Patent); 9,714,512 (“the ’512 Patent); and 10,145,115 (“the

’115 Patent). True and correct copies of these patents are attached as Exhibits A-D.

                                         INTRODUCTION

       2.      When their roofs are able to reflect thermal energy from the sun, buildings become

substantially more energy efficient. Many states and municipalities therefore require that certain

kinds of buildings use roofing surfaces with a high level of reflectivity. These regulations, along

with the overall trend toward more energy efficient construction practices, has spurred the

development of a “cool roof” industry.



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       3.      National Coatings Corporation was an early pioneer in this field. Starting in 2010,

it applied for (and ultimately received) multiple patents for cool roofing systems.

       4.      National Coatings contracted with the German company AKW to manufacture

calcined kaolin-based granules for use in these cool roofing systems. National Coatings provided

AKW with proprietary specifications for both coated and uncoated calcined kaolin-based granules,

which AKW followed.        National Coatings then marketed and sold its granules to roofing

manufacturers under the product name “White Armor.”

       5.      U.S. Silica, which has been in business for over 100 years, is a global leader in the

production of specialty granules. In 2017, U.S. Silica acquired National Coatings’ cool roofing

business. At first, U.S. Silica relied on AKW to produce the White Armor granules, just as

National Coatings had done. But there were frequent issues with the quality of AKW’s production,

which prompted U.S. Silica to look for ways to produce White Armor granules domestically.

       6.      Such an opportunity arose in late 2018, when U.S. Silica acquired a new plant in

Millen, Georgia. The Millen plant was located near large kaolin and silica deposits, which allowed

U.S. Silica to produce White Armor granules in the United States instead of outsourcing to

Germany.    This offered numerous benefits, including better quality control, a reduction in

transportation costs, and new jobs for American workers.

       7.      U.S. Silica was open with AKW about its plan to shift production of White Armor

granules sometime in 2020 to the Millen plant, thereby giving AKW almost one year’s notice of

its plans despite being under no contractual obligations to do so. AKW did not take the news well.

Nevertheless, in an effort to preserve the companies’ relationship, U.S. Silica offered to give AKW

an exclusive license to sell White Armor to the European market (and possibly the rest of the world

as well) and an exclusive license to sell White Armor to the after-market repair and maintenance



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market in the United States. AKW rejected the offer, and it threatened that “AKW is going to

work on a different business strategy to come back on track in this business area.”

       8.      It is now clear what AKW’s “business strategy” for coming “back on track in this

business area” entails: copying White Armor granules and trying to poach U.S. Silica’s customers.

AKW is currently marketing a cool roofing granule called “AKCool,” which is expressly intended

to be applied to asphalt/bitumen sheets:




       9.      According to AKW’s own marketing materials, AKCool particles are designed to

practice the claimed limitations of U.S. Silica’s patented inventions, including particle size,

reflectivity, and coating. Since the beginning of 2020, AKW has exported from Germany to the

United States over forty metric tons of AKCool to roofing manufacturers. Furthermore, AKW has

actively encouraged infringement of U.S. Silica’s patents by explicitly marketing AKCool

granules to roofing manufacturers for use in asphalt/bitumen roofing products. At least one roofing

manufacturer who received AKCool particles, U.S. Ply, has applied it to an asphalt/bitumen layer,

resulting in direct infringement of U.S. Silica’s patents.

       10.     AKW knew that the use of AKCool by roofing manufacturers would infringe U.S.

Silica’s patents. Indeed, AKW was well aware of U.S. Silica’s patents as a result of its role as the

White Armor granule supplier for both National Coatings and U.S. Silica prior to 2020. AKW

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clearly intended to induce infringement of the patents-in-suit. Moreover, AKW has contributorily

infringed these patents because the AKCool granules have no substantial non-infringing uses, are

not staple articles of commerce, and are a material part of U.S. Silica’s patented cool roofing

invention.

       11.     U.S. Silica seeks damages for AKW’s induced and contributory infringement,

including trebled damages for willful infringement.

                                              PARTIES

       12.     U.S. Silica Company is a Delaware corporation with its principal place of business

at 24275 Katy Freeway, Suite 600, Katy, Texas 77494.

       13.     U.S. Silica is the owner, by assignment, of the four patents-in-suit. All four patents

were duly and lawfully issued by the United States Patent and Trademark Office. The ’303 Patent

was duly and lawfully issued on October 21, 2014. The ’407 Patent was duly and lawfully issued

on April 5, 2016. The ’512 Patent was duly and lawfully issued on July 25, 2017. The ’115 Patent

was duly and lawfully issued on December 4, 2018.

       14.     Upon information and belief, AKW is a German company having its principal place

of business at Georg-Schiffer-Strasse 70, D-92242 Hirschau, Germany. AKW may be served

through the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents in

Civil or Commercial Matters (the Hague Service Convention).

                                 JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

       16.     Venue is proper in this District under 28 U.S.C. § 1391(c)(3). Defendant AKW is

a foreign entity that can be sued in any judicial district in the United States.




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       17.     This Court has personal jurisdiction over AKW under FED. R. CIV. P. 4(k)(1) based

on at least the following conduct within or directed to the State of Texas:

               a. AKW entered into an agreement with U.S. Ply Inc., a corporation with its

                   principle place of business in Bridgeport, Texas, to sell at least 38 metric tons

                   of AKCool granules to U.S. Ply. On or around April 2, 2020, 38 metric tons of

                   AKCool were shipped and consigned over to U.S. Ply, with a final destination

                   of Bridgeport, Texas. On information and belief, AKW engaged in electronic

                   and telephonic communications directed at U.S. Ply in Texas relating to the sale

                   and use of AKCool granules.

               b. AKW entered into a contract with the International Roofing Expo, located in

                   Irving, Texas, for booth space and associated services in connection with the

                   International Roofing Expo in Dallas, Texas. During this February 2020 trade

                   show, AKW marketed the AKCool product for use in cool roofing systems

                   through advertising, brochures, and in-person sales efforts targeted at attending

                   customers. AKW also brought samples of AKCool to the trade show in Texas

                   to display them to potential customers. Through these activities, AKW actively

                   encouraged customers in Texas to purchase and import AKCool granules to the

                   United States for the purpose of applying them to asphalt/bitumen sheets.

       18.     In the alternative, this Court has jurisdiction over AKW under FED. R. CIV. P.

4(k)(2) based on (i) AKW’s contacts with Texas outlined above; (ii) AKW’s importation of

AKCool product (whether in commercial quantities or smaller samples) to other locations in the

United States, see infra ¶¶ 51-52; and (iii) on information and belief, other marketing activities

and communications directed towards roofing manufacturers in the United States.



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                                      THE PATENTS-IN-SUIT

           19.   U.S. Silica realleges and incorporates all preceding allegations.

           20.   Each of the patents-in-suit is valid and enforceable.

           21.   U.S. Silica is the owner of the entire right, title, and interest in and to the patents-

in-suit.

           22.   The patents-in-suit and their respective claims relate to cool roofing systems. The

patents-in-suit generally describe a roof system having either an asphalt layer, such as bitumen or

modified bitumen, and/or a spray polyurethane foam layer with an elastomeric coating, a granular

layer that includes calcined kaolin particles, a coating applied to the particles, and reflectance

values within recited bounds.

                                    FACTUAL BACKGROUND

           23.   U.S. Silica realleges and incorporates all preceding allegations.

                               Demand for cool roofing systems grows

           24.   When solar radiation strikes a roof, some of the energy is reflected, some is emitted

back into the air, and some is absorbed. The more solar energy that is reflected or emitted by the

roofing material, the less heat is transferred to the building (and the less energy is needed to cool

the building). The choice of roofing material can therefore have an enormous impact on a

building’s energy efficiency.

           25.   The first cool roofing standards were promulgated by the American Society for

Heating, Refrigeration, and Air-conditioning Engineers (“ASHRAE”) in 1990. California made

headlines in 2001 when it adopted the ASHRAE standards for certain nonresidential buildings and

offered tax credits for the use of cool roofing systems. California’s regulations have become more

expansive and rigorous over time, which led to the development of new cool roofing technologies.



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Other states and municipalities followed California’s lead by adopting their own cool roofing

requirements, further spurring growth of the cool roofing industry.

               National Coatings develops the innovative White Armor granules

       26.     National Coatings was founded in California by Rick Sexauer in 1981. While it

originally manufactured acrylic coatings, over time it developed a calcined kaolin-based roofing

granule that was added to a layer of either asphalt/bitumen or spray polyurethane foam with an

elastomeric coating. In 2010, National Coatings filed the first of four patent applications for its

innovative cool roofing systems, which would eventually issue in October 2014 as the ’303 Patent.

Sexauer and Matthew Kolb, an executive at National Coatings, were the named inventors.

       27.     Sold under the trade name “White Armor,” National Coatings’ product was the first

commercially available cool roofing granule capable of reaching the levels of reflectivity required

by California’s exacting regulations. White Armor met California’s requirement, despite a dropin

reflectance of several percentage points between pure roofing granules and granules as applied to

a roofing system. In addition to reaching the desired levels of solar reflectivity, the White Armor

granule helped prevent thaw/freeze cycles that would damage the roofing system, was stain

resistant, and helped to block harmful ultraviolet radiation.

       28.     AKW manufactured White Armor for National Coatings. At the time U.S. Silica

purchased National Coatings’ cool roofing division (as explained below), National Coatings was

actively looking for alternative suppliers based on quality issues with AKW’s product.

                             U.S. Silica acquires National Coatings
                        and decides to produce White Armor domestically

       29.     Over more than a century of operations, U.S. Silica built a global business focused

on products derived from silica and other minerals. U.S. Silica’s business was a natural fit for cool

roofing granules and related technologies, which led U.S. Silica to become interested in acquiring

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the White Armor product line. Following negotiations between the companies, U.S. Silica

purchased National Coatings’ cool roofing division—including its customer contracts and the

patents-in-suit—in April 2017.

       30.     For the first three years after the acquisition, U.S. Silica continued to rely solely on

AKW to produce White Armor granules. As with National Coatings, AKW manufactured (or

retained an approved subcontractor to manufacture) White Armor to U.S. Silica’s specifications

and quality requirements. AKW then shipped White Armor directly to customers at U.S. Silica’s

direction.

       31.     While U.S. Silica was content to rely on AKW at first, quality control issues with

the White Armor granules became a recurring problem. For example, U.S. Silica had to provide

AKW with technical assistance due to issues with inadequate stain resistance and excess dust on

the White Armor granules. But even with U.S. Silica’s help, quality control issues persisted and

AKW refused to make the capital improvements necessary to address them.

       32.     In December 2018, U.S. Silica purchased an idled ceramic proppant plant in Millen,

Georgia. The plant was located near large deposits of kaolin, which is used in the manufacture of

the White Armor granules. U.S. Silica decided to re-engineer the Millen plant to produce White

Armor. By manufacturing White Armor domestically, U.S. Silica would be able to cut costs,

retake control of quality assurance, and employ U.S. workers rather than outsource its

manufacturing work to Germany.

       33.     U.S. Silica promptly notified AKW of its plans to transition new production of

White Armor to the plant in Georgia, giving AKW almost a full year’s notice, though U.S. Silica

was under no obligation to do so. To soften the blow, U.S. Silica offered to give AKW an exclusive

license to sell White Armor to the European market (and possibly the rest of the world as well)



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and an exclusive license to sell White Armor to the after-market repair and maintenance market in

the United States.

       34.     AKW did not take the news well. By June 2019, AKW had rejected U.S. Silica’s

proposal and AKW threatened to “work on a different business strategy to come back on track in

this business area.” As illustrated by AKW’s subsequent conduct, that “different” strategy

involved willful infringement of U.S. Silica’s patents and efforts to poach U.S. Silica’s customers.

                             AKW tries to obtain intellectual property
                             derived from its work with White Armor

       35.     Despite having knowledge of the National Coatings / U.S. Silica family of patents

for cool roofing systems, AKW launched a campaign to offer a competing cool roof granule in the

United States. This “new” product, which AKW markets under the trade name “AKCool” is

derived from the patents-in-suit.

       36.     AKW asserts in its marketing literature that the AKCool granules are “patented.”

Ex. E at 2. Yet the only active patent or patent application owned by AKW in the U.S. Patent and

Trademark Assignment Database is United States Patent No. 10,259,974 (the “’974 Patent”),

which issued in April 2019 and is directed to a reflective particle. Ex. F. The ‘974 Patent is later

in time than U.S. Silica’s initial patents, and it recites properties and features that would infringe

U.S. Silica’s patents when practiced together.

       37.     Claim 1 of the ’974 Patent recites, for example, “A roof coating comprising a

bitumen layer with embedded particles, wherein said embedded particles comprise particles that

are fired mixtures of from 40 to 70% by weight clay minerals; from 0 to 32% by weight crystalline

silicas; from 28 to 45% by weight feldspar; from 0 to 15% by weight other aggregates, wherein

said fired mixtures have an open porosity of 0 to 14% by volume as measured according to DIN

EN 993-1:1995.” Id. at 6:38-47 (Claim 1). As noted in the ’974 Patent’s specification, the clay

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mineral material used is China clay—also known as kaolin—which is fired at temperatures

between 1150℃ or 1380℃. Id. at 2:57-60; 5:17-25. The example particles are coated with

Unidyne TG-8111 from Daikin Chemical Ltd, a fluoroalkyl acrylate. Id. at 4:60-67. The Unidyne

TG-8111 coating is diluted with water in a 5:1 ratio and applied at a maximum of 0.6% by weight

of the particles, so that reflectivity is not significantly deteriorated. Id. Further, “adherence to the

bitumen is not disturbed to the extent where the particles could become detached from the roof

coating” and “the particles are embedded in the bitumen matrix relatively firmly.” Id. at 3:64-67,

6:14-18.

       38.     The claims and disclosure of the ’974 Patent mimic U.S. Silica’s patented

inventions. In fact, during prosecution of the ’974 Patent, AKW cited U.S. Patent Application

Publication No. 2011/0081537 and International Patent Application Publication No. WO

2011/041033. Those United States and WIPO publications correspond to U.S. Silica’s ’303 Patent.

       39.     AKW also filed an application under the Madrid Protocol for protection of the

trademark “AKCool” in several jurisdictions, including the United States, for “Chemical

preparations; kaolin; chemical products in the form of reflective granules of calcined kaolin or

calcined kaolin-feldspar-quartz mixtures” and “Building materials (non-metallic); bitumen;

bituminous coating compounds for roofs; bituminous membranes and preservatives of calcined

kaolin or calcined kaolin-feldspar-quartz mixtures for roofs; silica [quartz]; quartz sand, quartz

powder, in particular for use as reflective granules for roof coverings and roof tiles [not made

of metal].” (emphasis added). AKW filed for trademark protection on September 16, 2019, just

three months after rejecting U.S. Silica’s business proposal.

       40.     When AKCool granules are applied to a layer of asphalt/bitumen (as AKW directs

customers to do), the result is:



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       •     A cool roofing system with an asphalt layer, such as bitumen or modified bitumen;

       •     a granular layer of crushed kaolin particles comprising crushed kaolin chamotte, such
             as aluminum silicate, calcined china clay, mullite, and calcined flint clay;

       •     particles with solar reflectance between 80% and 90% prior to any surface treatment;

       •     a particle size of 0.3-2.4 mm;

       •     a clear coating selected from the group consisting of silanes, siloxanes, polysiloxanes,
             organo-siloxanes, silicates, organic silicates, silicone resins, acrylics, urethanes,
             polyurethanes, glycol ethers and mixtures thereof;

       •     a solar reflectance after coating and application to asphalt/bitumen between about
             70% and about 82%, and/or a minimum solar reflectance of 70%.

       41.       It is apparent that AKCool granules applied to an asphalt or bitumen layer would

infringe (at a minimum) claims 1, 9, and 10 of the ’303 Patent (the “Asserted ’303 Claims”), claims

1, 3, 9, and 10 of the ’407 Patent (the “Asserted ’407 Claims”), claims 1 and 3 of the ’512 Patent

(the “Asserted ’512 Claims”), and claims 1-3 and 5 of the ’115 Patent (the “Asserted ’115 Claims”)

(collectively, the “Asserted Claims”).

                      AKW markets AKCool to roofing companies in the U.S.

       42.       In February 2020, AKW attended the International Roofing Expo (the “IRE”) in

Dallas, Texas. The IRE proclaims itself to be the “#1 event for exhibitions and education for the

roofing industry.” In fact, the IRE website notes that it brings together thousands of roofing

professionals:

                 The International Roofing Expo brings together over 17,000 professionals
                 to help them stay current on industry knowledge and to see the largest
                 selection of products and services. Our goal is to help roofing professionals
                 improve their business through education exhibitions, and networking.
                 Everyone who has a role in the industry comes together at this powerful
                 event to conduct face-to-face meetings, experience the newest innovations,




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                participate in cutting-edge educational sessions, and build strong
                relationships. 1

The 2020 IRE had 17,060 roofing professionals in attendance. 2

         43.    At the IRE, AKW displayed AKCool granules and marketing materials, such as the

attached brochure. Exhibit E (the “AKCool Brochure”). See also supra p. 3 (a photograph of

AKW’s booth at the Expo).

         44.    AKW’s marketing materials (among other things) confirm that the application of

AKCool granules to an asphalt/bitumen layer would infringe the patents-in-suit. For example,

AKW admits that AKCool granules are “specially developed for bitumen mineral cap sheets used

on roofs.” Ex. E at 2. They are “coated to repel water and oil” and are “completely reflective (due

to reflective core material),” which implies a clear coating. Id. The AKCool granules have a

“permanently high reflectance value and especially long durability.” Id. “As a result, according

to AKW, AKCool helps lower building temperatures, minimize energy and operating costs, and

meet building environmental standards.” Id.

         45.    AKW also represents that “pure” AKCool granules have a solar reflectance value

of ~84% as measured by ASTM C1549. Id. at 3. On a bitumen sheet with “[c]omplete coverage

with solar reflective granules,” AKCool provides reflectance values greater than 70%. Id. AKW’s

granules also have “[p]erfect adhesion to bitumen surface” and a particle size of 0.5-2.4 mm. Id.

at 2. AKW further acknowledges that it manufactures AKCool and/or hires subcontractors to

manufacture AKCool to its specifications. Id. at 4.




1
      Who Attends the International Roofing Expo?, INTERNATIONAL ROOFING EXPO, https://www
      .theroofingexpo.com/en/attend.html (last accessed Sept. 6, 2020).
2
      IRE 2020 Recap, INT’L ROOFING EXPO, https://www.theroofingexpo.com/en/attend/ire-2020-
      recap.html (last accessed Sept. 6, 2020)
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         46.     The composition of AKCool is, substantively, virtually identical to U.S. Silica’s

patented White Armor Product. AKCool is manufactured with a substantially similar starting

composition as the White Armor Product. AKCool includes, upon information and belief, a

majority of kaolin clay. AKCool includes a high content of silicon oxide and aluminum oxide,

combined, and it is prepared by calcining at a high temperature.

         47.     Through the AKCool Brochure, in-person sales efforts at the IRE in Texas, supply

contracts and/or other arrangements with its customers, and other marketing communications,

AKW has encouraged and instructed roofing system manufacturers to apply AKCool to a layer of

asphalt/bitumen to create infringing cool roofing systems. See, e.g., Ex. E at 1-3; Ex. F at 1:3-60

(’974 Patent).

         48.     AKCool granules are not staple articles of commerce. The only viable commercial

uses of the AKCool granules are infringing cool roofing systems, where granules are applied on

top of an asphalt/bitumen layer. 3 See, e.g., Ex. E at 1-3 (brochure); Ex. F at 6:38-47, 8:5-17 (’974

Patent). AKW itself proclaims AKCool granules to be “specially developed for bitumen mineral

cap sheets used on roofs” and to have “[p]erfect adhesion to bitumen surface due to microporous

flake surface” to achieve “perfect coverage and fixation” to asphalt/bitumen:




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      There is an alternative commercial use, also infringing, of applying the granules to a spray
      polyurethane base that is topped with an elastomeric coating. That use is not currently at issue
      in this case, but U.S. Silica reserves the right to assert infringement by such systems should
      discovery show AKCool or other accused products of AKW are used in such a manner.
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Ex. E at 2.

       49.    AKW further depicts AKCool as being used in asphalt/bitumen rolled roofing

products:




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Id. at 1, 3 (depicting, respectively, roofers with rolls of AKCool covered asphalt/bitumen roofing

product and a close-up photograph of a roll of asphalt/bitumen roofing with AKCool); see also

supra p. 3 (another close-up photograph of rolled, AKCool covered asphalt/bitumen roofing,

prominently displayed at the International Roofing Expo).

       50.     AKW imports AKCool granules under Harmonized Tariff Schedule No. 25070020

for “Kaolin and other kaolinic clays, whether or not calcined.”

       51.     AKW has sold and imported AKCool into the United States in commercial

quantities on at least three occasions, in each case to a manufacturer of roofing systems, totaling

over 50 metric tons (110,000 lbs.):

               •   On or around January 28 and February 12, 2020, the Garland Company, Inc. of

                   Cleveland, Ohio, received 12 metric tons of AKCool in two shipments.

               •   On or around February 29, 2020, MBTechnology of Fresno, California,

                   received 4 metric tons of AKCool.

               •   On or around April 2, 2020, U.S. Ply of Bridgeport, Texas received 38 metric

                   tons of AKCool.




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               •   On information and belief, AKW has made additional shipments into the United

                   States, including to Texas, to one or more customers.

       52.     AKW’s roofing manufacturer customers, including at least U.S. Ply, have applied

AKCool granules to layers of asphalt/bitumen to create cool roofing systems. Thus, AKW’s

customers have directly infringed and continue to directly infringe the Asserted Claims.

       53.     AKW instructed and encouraged its customers to apply AKCool granules to a layer

of asphalt to manufacture a cool roofing system with knowledge of or willful blindness to the

patents-in-suit. AKW also knew and intended that the AKCool granules be especially adapted and

manufactured to infringe the U.S. Silica patents, thereby illustrating its intent that its customers

infringe the Asserted Claims.

       54.     AKW’s actions are deliberate, knowing, and willful. AKW has been on notice or

was willfully blind to the existence of the patents-in-suit long before its infringing activities, given

its role as the supplier of White Armor first to National Coatings and later to U.S. Silica. Moreover,

AKW admitted in its own patent filings that it had knowledge of both the published ’303 patent

application and the corresponding WIPO publication. In addition, in a draft supply agreement, the

parties expressly stated that “[U.S. Silica] owns certain patents, copyrights, trademarks, know-

how, trade secrets and other confidential information (collectively, ‘Intellectual Property’)

associated with the White Armor line of cool roof granules.”

       55.     In sum, AKW knew of U.S. Silica’s patents, copied the patented White Armor

product, and now markets and sells its infringing product in the United States. In doing so, AKW

actively encourages and causes direct infringement of U.S. Silica’s patents, and it is also

committing contributory infringement by manufacturing a copycat of the granule at the heart of

U.S. Silica’s patents.



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                                     CAUSES OF ACTION

                                        COUNT I
                (Induced Infringement of United States Patent No. 8,865,303)

       56.     U.S. Silica realleges and incorporates all preceding allegations.

       57.     AKW indirectly infringes at least the Asserted ’303 Claims by knowingly and

actively inducing its customers to infringe, and by intentionally aiding, assisting, instructing and

encouraging its customers to directly infringe the ’303 Patent through its importation, sale and/or

offer to sell the AKCool granules in the United States to its customers who manufacture, offer for

sale and/or sell cool roofing systems including a layer of asphalt or bitumen and a layer of AKCool

granules on top of the asphalt/bitumen (the “Accused Products”) in the United States. An

exemplary claim chart is attached hereto as Exhibit G.

       58.     AKW intended to induce infringement of the ’303 Patent by its customers because

it knew, should have known, or was willfully blind to the existence of the ’303 Patent. AKW

knew, should have known, or was willfully blind to the fact that its actions and the actions of its

customers would result in infringement of the ’303 Patent, and AKW intended that its customers

perform the acts necessary to cause direct infringement. As a result, U.S. Silica has been and

continues to be irreparably damaged.

       59.     AKW’s conduct constitutes induced infringement pursuant to 35 U.S.C. § 271(b).

       60.     To the extent AKW does not induce its customers to literally infringe the ’303

Patent, AKW has induced its customers to infringe by way of the doctrine of equivalents because

AKCool, as applied to the Accused Products, performs the same function, in the same way, to

obtain the same result as the Asserted ’303 Claims. AKCool is a reflective granule applied to an

asphalt layer, AKCool has substantially the same composition as claimed and described in the ’303

Asserted Claims and as used by U.S. Silica in the White Armor Product, and the result is the same,

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namely producing a highly reflective, cool roofing system. Any difference between the Accused

Products and the Asserted ’303 Claims are minor and insubstantial.

       61.     AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’303 Patent and egregious disregard for U.S. Silica’s rights in

the ’303 Patent.

       62.     AKW has willfully infringed the ’303 Patent by inducement, entitling U.S. Silica

to treble damages and attorneys’ fees incurred in prosecuting this action under 35 U.S.C. §§ 284

and 285.

                                       COUNT II
             (Contributory Infringement of United States Patent No. 8,865,303)

       63.     U.S. Silica realleges and incorporates all preceding allegations.

       64.     AKW contributorily infringes the Asserted ’303 Claims through its importation,

sale and/or offer to sell the AKCool granules in the United States to customers who manufacture,

sell and/or offer to sell the Accused Products in the United States, thereby directly infringing the

Asserted ’303 Claims. AKCool granules constitute a material part of the Asserted ’303 Claims

and the Accused Products. AKCool granules are not staple articles or commodities of commerce

suitable for substantial non-infringing uses, due to their special adaptation for use as cool roofing

system granules on asphalt or bitumen layers. AKW knows the AKCool granules are especially

made or adapted for use in infringing the Asserted ’303 Claims and are not staple articles or

commodities of commerce without substantial non-infringing uses. See Ex. G (’303 Claim chart)

       65.     AKW’s conduct constitutes contributory infringement pursuant to 35 U.S.C.

§ 271(c).

       66.     To the extent AKW does not contributorily infringe the ’303 Patent literally, AKW

contributorily infringes under the doctrine of equivalents because AKCool, as applied to the

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Accused Products, performs the same function, in the same way, to obtain the same result as the

Asserted ’303 Claims. AKCool is a reflective granule applied to an asphalt layer, AKCool has

substantially the same composition as claimed and described in the ’303 Asserted Claims and as

used by U.S. Silica in the White Armor Product, and the result is the same, namely producing a

highly reflective, cool roofing system. Any difference between the Accused Products and the

Asserted ’303 Claims are minor and insubstantial.

       67.     AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’303 Patent and egregious disregard for U.S. Silica’s rights in

the ’303 Patent.

       68.     AKW has willfully infringed the ’303 Patent by contributory infringement, entitling

U.S. Silica to treble damages and attorneys’ fees incurred in prosecuting this action under 35

U.S.C. §§ 284 and 285.

                                          COUNT III
                   (Induced Infringement of United States Patent No. 9,303,407)

       69.     U.S. Silica realleges and incorporates all preceding allegations.

       70.     AKW indirectly infringes at least the Asserted ’407 Claims by knowingly and

actively inducing its customers to infringe, and by intentionally aiding, assisting, instructing and

encouraging its customers to directly infringe the ’407 Patent through its importation, sale and/or

offer to sell the AKCool granules in the United States to its customers who manufacture, offer for

sale and/or sell cool roofing systems including a layer of asphalt or bitumen and a layer of AKCool

granules on top of the asphalt/bitumen in the United States. An exemplary claim chart is attached

hereto as Exhibit H.

       71.     AKW intended to induce infringement of the ’407 Patent by its customers because

it knew, should have known, or was willfully blind to the existence of the ’407 Patent. AKW

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knew, should have known, or was willfully blind to the fact that its actions and the actions of its

customers would result in infringement of the ’407 Patent, and AKW intended that its customers

perform the acts necessary to cause direct infringement. As a result, U.S. Silica has been and

continues to be irreparably damaged.

       72.     AKW’s conduct constitutes induced infringement pursuant to 35 U.S.C. § 271(b).

       73.     To the extent AKW does not induce its customers to literally infringe the ’407

Patent, AKW has induced its customers to infringe by way of the doctrine of equivalents because

AKCool, as applied to the Accused Products, performs the same function, in the same way, to

obtain the same result as the Asserted ’407 Claims. AKCool is a reflective granule applied to an

asphalt layer, AKCool has substantially the same composition as claimed and described in the ’407

Asserted Claims and as used by U.S. Silica in the White Armor Product, and the result is the same,

namely producing a highly reflective, cool roofing system. Any difference between the Accused

Products and the Asserted ’407 Claims are minor and insubstantial.

       74.     AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’407 Patent and egregious disregard for U.S. Silica’s rights in

the ’407 Patent.

       75.     AKW has willfully infringed the ’407 Patent by inducement, entitling U.S. Silica

to treble damages and attorneys’ fees incurred in prosecuting this action under 35 U.S.C. §§ 284

and 285.

                                      COUNT IV
             (Contributory Infringement of United States Patent No. 9,303,407)

       76.     U.S. Silica realleges and incorporates all preceding allegations.

       77.     AKW contributorily infringes the Asserted ’407 Claims through its importation,

sale and/or offer to sell the AKCool granules in the United States to customers who manufacture,

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sell and/or offer to sell the Accused Products in the United States, thereby directly infringing the

Asserted ’407 Claims. AKCool granules constitute a material part of the Asserted ’407 Claims

and the Accused Products. AKCool granules are not staple articles or commodities of commerce

suitable for substantial non-infringing uses, due to their special adaptation for use as cool roofing

system granules on asphalt or bitumen layers. AKW knows the AKCool granules are especially

made or adapted for use in infringing the Asserted ’407 Claims and are not staple articles or

commodities of commerce without substantial non-infringing uses. See Ex. H (’407 Claim chart).

       78.     AKW’s conduct constitutes contributory infringement pursuant to 35 U.S.C.

§ 271(c).

       79.     To the extent AKW does not contributorily infringe the ’407 Patent literally, AKW

contributorily infringes under the doctrine of equivalents because AKCool, as applied to the

Accused Products, performs the same function, in the same way, to obtain the same result as the

Asserted ’407 Claims. AKCool is a reflective granule applied to an asphalt layer, AKCool has

substantially the same composition as claimed and described in the ’407 Asserted Claims and as

used by U.S. Silica in the White Armor Product, and the result is the same, namely producing a

highly reflective, cool roofing system. Any difference between the Accused Products and the

Asserted ’407 Claims are minor and insubstantial.

       80.     AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’407 Patent and egregious disregard for U.S. Silica’s rights in

the ’407 Patent.

       81.     AKW has willfully infringed the ’407 Patent by contributory infringement, entitling

U.S. Silica to treble damages and attorneys’ fees incurred in prosecuting this action under

35 U.S.C. §§ 284 and 285.



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                                        COUNT V
                (Induced Infringement of United States Patent No. 9,714,512)

       82.     U.S. Silica realleges and incorporates all preceding allegations.

       83.     AKW indirectly infringes at least the Asserted ’512 Claims by knowingly and

actively inducing its customers to infringe, and by intentionally aiding, assisting, instructing and

encouraging its customers to directly infringe the ’512 Patent through its importation, sale and/or

offer to sell the AKCool granules in the United States to its customers who manufacture, offer for

sale and/or sell cool roofing systems including a layer of asphalt or bitumen and a layer of AKCool

granules on top of the asphalt/bitumen in the United States. An exemplary claim chart is attached

hereto as Exhibit I.

       84.     AKW intended to induce infringement of the ’512 Patent by its customers because

it knew, should have known, or was willfully blind to the existence of the ’512 Patent. AKW

knew, should have known, or was willfully blind to the fact that its actions and the actions of its

customers would result in infringement of the ’512 Patent, and AKW intended that its customers

perform the acts necessary to cause direct infringement. As a result, U.S. Silica has been and

continues to be irreparably damaged.

       85.     AKW’s conduct constitutes induced infringement pursuant to 35 U.S.C. § 271(b).

       86.     To the extent AKW does not induce its customers to literally infringe the ’512

Patent, AKW has induced its customers to infringe by way of the doctrine of equivalents because

AKCool, as applied to the Accused Products, performs the same function, in the same way, to

obtain the same result as the Asserted ’512 Claims. AKCool is a reflective granule applied to an

asphalt layer, AKCool has substantially the same composition as claimed and described in the ’512

Asserted Claims and as used by U.S. Silica in the White Armor Product, and the result is the same,




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namely producing a highly reflective, cool roofing system. Any difference between the Accused

Products and the Asserted ’512 Claims are minor and insubstantial.

       87.     AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’512 Patent and egregious disregard for U.S. Silica’s rights in

the ’512 Patent.

       88.     AKW has willfully infringed the ’512 Patent by inducement, entitling U.S. Silica

to treble damages and attorneys’ fees incurred in prosecuting this action under 35 U.S.C. §§ 284

and 285.

                                      COUNT VI
             (Contributory Infringement of United States Patent No. 9,714,512)

       89.     U.S. Silica realleges and incorporates all preceding allegations.

       90.     AKW contributorily infringes the Asserted ’512 Claims through its importation,

sale and/or offer to sell the AKCool granules in the United States to customers who manufacture,

sell and/or offer to sell the Accused Products in the United States, thereby directly infringing the

Asserted ’512 Claims. AKCool granules constitute a material part of the Asserted ’512 Claims

and the Accused Products. AKCool granules are not staple articles or commodities of commerce

suitable for substantial non-infringing uses, due to their special adaptation for use as cool roofing

system granules on asphalt or bitumen layers. AKW knows the AKCool granules are especially

made or adapted for use in infringing the Asserted ’512 Claims and are not staple articles or

commodities of commerce without substantial non-infringing uses. See Ex. I (’512 Claim chart).

       91.     AKW’s conduct constitutes contributory infringement pursuant to 35 U.S.C.

§ 271(c).

       92.     To the extent AKW does not contributorily infringe the ’512 Patent literally, AKW

contributorily infringes under the doctrine of equivalents because AKCool, as applied to the

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Accused Products, performs the same function, in the same way, to obtain the same result as the

Asserted ’512 Claims. AKCool is a reflective granule applied to an asphalt layer, AKCool has

substantially the same composition as claimed and described in the ’512 Asserted Claims and as

used by U.S. Silica in the White Armor Product, and the result is the same, namely producing a

highly reflective, cool roofing system. Any difference between the Accused Products and the

Asserted ’512 Claims are minor and insubstantial.

       93.     AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’512 Patent and egregious disregard for U.S. Silica’s rights in

the ’512 Patent.

       94.     AKW has willfully infringed the ’512 Patent by contributory infringement, entitling

U.S. Silica to treble damages and attorneys’ fees incurred in prosecuting this action under

35 U.S.C. §§ 284 and 285.

                                       COUNT VII
                (Induced Infringement of United States Patent No. 10,145,115)

       95.     U.S. Silica realleges and incorporates all preceding allegations.

       96.     AKW indirectly infringes at least the Asserted ’115 Claims by knowingly and

actively inducing its customers to infringe, and by intentionally aiding, assisting, instructing and

encouraging its customers to directly infringe the ’115 Patent through its importation, sale and/or

offer to sell the AKCool granules in the United States to its customers who manufacture, offer for

sale and/or sell cool roofing systems including a layer of asphalt or bitumen and a layer of AKCool

granules on top of the asphalt/bitumen in the United States. An exemplary claim chart is attached

hereto as Exhibit J.

       97.     AKW intended to induce infringement of the ’115 Patent by its customers because

it knew, should have known, or was willfully blind to the existence of the ’115 Patent. AKW

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knew, should have known, or was willfully blind to the fact that its actions and the actions of its

customers would result in infringement of the ’115 Patent, and AKW intended that its customers

perform the acts necessary to cause direct infringement. As a result, U.S. Silica has been and

continues to be irreparably damaged.

       98.     AKW’s conduct constitutes induced infringement pursuant to 35 U.S.C. § 271(b).

       99.     To the extent AKW does not induce its customers to literally infringe the ’115

Patent, AKW has induced its customers to infringe by way of the doctrine of equivalents because

AKCool, as applied to the Accused Products, performs the same function, in the same way, to

obtain the same result as the Asserted ’115 Claims. AKCool is a reflective granule applied to an

asphalt layer, AKCool has substantially the same composition as claimed and described in the ’115

Asserted Claims and as used by U.S. Silica in the White Armor Product, and the result is the same,

namely producing a highly reflective, cool roofing system. Any difference between the Accused

Products and the Asserted ’115 Claims are minor and insubstantial.

       100.    AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’115 Patent and egregious disregard for U.S. Silica’s rights in

the ’115 Patent.

       101.    AKW has willfully infringed the ’115 Patent by inducement, entitling U.S. Silica

to treble damages and attorneys’ fees incurred in prosecuting this action under 35 U.S.C. §§ 284

and 285.

                                            COUNT VIII
                   (Contributory Infringement of United States Patent No. 10,145,115)

       102.    U.S. Silica realleges and incorporates all preceding allegations.

       103.    AKW contributorily infringes the Asserted ’115 Claims through its importation,

sale and/or offer to sell the AKCool granules in the United States to customers who manufacture,

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sell and/or offer to sell the Accused Products in the United States, thereby directly infringing the

Asserted ’115 Claims. AKCool granules constitute a material part of the Asserted ’115 Claims

and the Accused Products. AKCool granules are not staple articles or commodities of commerce

suitable for substantial non-infringing uses, due to their special adaptation for use as cool roofing

system granules on asphalt or bitumen layers. AKW knows the AKCool granules are especially

made or adapted for use in infringing the Asserted ’115 Claims and are not staple articles or

commodities of commerce without substantial non-infringing uses. See Ex. J (’115 Claim chart).

       104.    AKW’s conduct constitutes contributory infringement pursuant to 35 U.S.C.

§ 271(c).

       105.    To the extent AKW does not contributorily infringe the ’115 Patent literally, AKW

contributorily infringes under the doctrine of equivalents because AKCool, as applied to the

Accused Products, performs the same function, in the same way, to obtain the same result as the

Asserted ’115 Claims. AKCool is a reflective granule applied to an asphalt layer, AKCool has

substantially the same composition as claimed and described in the ’115 Asserted Claims and as

used by U.S. Silica in the White Armor Product, and the result is the same, namely producing a

highly reflective, cool roofing system. Any difference between the Accused Products and the

Asserted ’115 Claims are minor and insubstantial.

       106.    AKW committed these acts of infringement without license or authorization, and it

has done so with knowledge of the ’115 Patent and egregious disregard for U.S. Silica’s rights in

the ’115 Patent.

       107.    AKW has willfully infringed the ’115 Patent by contributory infringement, entitling

U.S. Silica to treble damages and attorneys’ fees incurred in prosecuting this action under

35 U.S.C. §§ 284 and 285.



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                                       PRAYER FOR RELIEF

        U.S. Silica requests the following relief:

        A. Entry of judgment that AKW has induced infringement of and contributorily infringed

            the U.S. Silica Patents;

        B. An order permanently enjoining AKW, together with its officers, directors, agents,

            servants, employees, attorneys, and those persons in active concert or participation with

            them, from infringing the patents-in-suit;

        C. An award of compensatory damages adequate to compensate U.S. Silica for AKW’s

            infringement of the patents-in-suit, in an amount no less than a reasonable royalty;

        D. A judgment that AKW’s infringement of the patents-in-suit was and is willful;

        E. Pre- and post-judgment interest;

        F. An order finding that this is an exceptional case and awarding U.S. Silica its reasonable

            attorneys’ fees under 35 U.S.C. § 285; and

        G. All such other and further costs and relief as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, U.S. Silica hereby demands a

trial by jury in this action of all claims so triable.




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Dated: September 8, 2020          Respectfully submitted,

                                  BECK REDDEN LLP

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